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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND

Scottsdale Capital Advisors Corp., et al.
                                                                         *
       Plaintiff,
                                                                         *
       v.                                                                                     Case No.
                                                                                                               8:16-cv-00860-DKC
Financial Industry Regulatory Authority, Inc.
                                                                         *

       Defendant.                                                        *

                                    DISCLOSURE OF CORPORATE INTEREST


Check all that apply:

       I certify, as party/counsel in this case that
                                                                                                        (name of party)

is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103.3 (D. Md.).




                                                                              Financial Industry Regulatory Authority, Inc.
       The following corporate affiliations exist with                                                                             :
                                                                                                           (name of party)


parent of FINRA Regulation, Inc. (both are not-for-profit, non-stock Delaware corporations)
                                                                                                                                   .
                                                            (names of affiliates)




    The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:

                                                                                                                                   .
                                                (names of entities with possible financial interests)




DisclosureCorpInterest (03/2015)
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Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




April 11, 2016                                         /s/ Terri L. Reicher
Date                                                   Signature
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